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EXHIBIT A
Case 2:22-cv-09094-GW-MAR Document 142-2 Filed 06/08/22 Page 2of5 Page ID #:2548

From: Waqas Anis <wanis@idsinc.com>

Sent: Monday, April 4, 2022 1:31 PM

To: Kazim Naqvi <KNaqvi@sheppardmullin.com>; Jim Vaughn <JVaughn@idsinc.com>; Miller, Rory
<Rory.Miller@lockelord.com>

Cc: Rena Andoh <RAndoh@sheppardmullin.com>; Goeke, Justine <JGoeke@gibsondunn.com>; James
Fazio <JFazio@sheppardmullin.com>; Travis Anderson <TAnderson@sheppardmullin.com>; Popham,
Mitchell <MPopham@lockelord.com>; Froehlich, Joseph <JFroehlich@lockelord.com>; Dominguez, Kate
<KDominguez@gibsondunn.com>; Polka, Michael M. <MPolka@gibsondunn.com>; Townsend Bourne
<tbourne@sheppardmullin.com>; Samplin, !lissa <ISamplin@gibsondunn.com>

Subject: RE: Moog v. Skyryse- Call re iDiscovery engagement and device protocol

Kazim,
We received two boxes and the following devices were identified in each box:

Alin Pilkington’s box

1. Western Digital External HD, SN: WX21DBBP7C8E
Buffalo External HD SSD, SN: 40608110534064
Buffalo External HD SSD, SN: 40608120102352
iPad A1459, SN:DMPJLOTCF18C
iPhone XS
iPad A1652, SN: DLXR3L7PGMW3
Western Digital External HD, SN: WXU2EAOO0YVMN
Western Digital External HD, SN: WXV2EAOFNHWW
Samsung Portable SSD, SN:SSSXNSOR700159M
10. MacBook Pro A19990, SN: CO2XG6PHJH6
11. Blue 1 TB usb flash drive
12. SanDisk Cruzer 64 GB

PON ANMAWHN

Misook Kim’s box

iPhone 13 or 12

Adata usb flash drive

Verbatim usb flash drive

SanDisk Cruzer 8 GB

Memorex 16 GB

Microsoft Surface Model 1645, SN: 070961552052
LG Gram Model: 169TOP, SN: 1L0QCWC563905
iPad A1584, SN: DLXQTE2FMLL

MacBook Pro A1502, SN: CO2P702TFVH9

10. KIA usb flash drive

11. Blue/Silver External HD

bP

CON AMUAWH

Thanks,
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Waqas Anis
Digital Forensics Jr. Consultant
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4130

IDSine.com

 

ibiscuvety Solutions

From: Kazim Naqvi <KNaqvi@sheppardmullin.com>

Sent: Monday, April 4, 2022 12:44 PM

To: Jim Vaughn <JVaughn@idsinc.com>; Miller, Rory <Rory.Miller@lockelord.com>

Cc: Rena Andoh <RAndoh@sheppardmullin.com>; Goeke, Justine <JGoeke@gibsondunn.com>; Waqas
Anis <wanis@idsinc.com>; James Fazio <JFazio@sheppardmullin.com>; Travis Anderson
<TAnderson@sheppardmullin.com>; Popham, Mitchell <MPopham@lockelord.com>; Froehlich, Joseph
<JFroehlich@lockelord.com>; Dominguez, Kate <KDominguez@gibsondunn.com>; Polka, Michael M.
<MPolka@gibsondunn.com>; Townsend Bourne <tbhourne@sheppardmullin.com>; Samplin, llissa

<lSamplin@gibsondunn.com>
Subject: RE: Moog v. Skyryse- Call re iDiscovery engagement and device protocol

 

We wanted to follow up on an identifying list of the devices turned over by the Individual Defendants on
Friday.

Thanks,
Kazim

Kazim Naqvi
Sheppardiiullin | Los Angeles
+1 424-288-5336 | ext. 15336

From: Jim Vaughn <JVaughn@idsinc.com>

Sent: Friday, April 1, 2022 6:30 PM

To: Miller, Rory <Rory.Miller@lockelord.com>; Kazim Naqvi <knaavi@steppardmullin, com>

Cc: Rena Andoh <RAndoh@sheppardmullin.com>; Goeke, Justine <JGoeke@gibsondunn.com>; Waqas
Anis <wanis@idsinc.com>; James Fazio <JFazio@sheppardmullin.com>; Travis Anderson
<TAnderson@sheppardmullin.com>; Popham, Mitchell <MPopham@lockelord.com>; Froehlich, Joseph
<JFroehlich@lockelord.com>; Dominguez, Kate <KDominguez@gibsondunn.com>; Polka, Michael M.
<MPolka@gibsondunn.com>; Townsend Bourne <tbhourne@sheppardmullin.com>; Samplin, llissa
<ISamplin@gibsondunn.com>

Subject: Re: Moog v. Skyryse- Cail re iDiscovery engagement and device protocol

We will be providing a list, but not today.

Jim Vaughn, GCFE, EnCE
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Managing Director

535 Anton Blvd., Suite 860 | Costa Mesa, CA. 92626
Direct: 714.261.0348 | jvaughn@idsinc.com
iDSinc.com

 

From: Miller, Rory <Rory.Miller@lockelord.com>
Sent: Friday, April 1, 2022 6:23 PM

To: Kazim Naqvi <KNaqvi@sheppardmullin.com>

Cc: Jim Vaughn <JVaughn@idsinc.com>; Rena Andoh <RAndoh@sheppardmullin.com>; Goeke, Justine
<JGoeke@gibsondunn.com>; Waqas Anis <wanis@idsinc.com>; James Fazio
<JFazio@sheppardmullin.com>; Travis Anderson <TAnderson@sheppardmullin.com>; Popham, Mitchell
<MPopham@lockelord.com>; Froehlich, Joseph <JFroehlich@lockelord.com>; Dominguez, Kate
<KDominguez@gibsondunn.com>; Polka, Michael M. <MPolka@gibsondunn.com>; Townsend Bourne
<tbourne@sheppardmullin.com>; Samplin, llissa <ISamplin@gibsondunn.com>

Subject: Re: Moog v. Skyryse- Call re iDiscovery engagement and device protocol

 

Why doesn’t iDS prepare a list? Alternatively, if the concern is whether devices were lost in transmittal
to iDS | will communicate with Jim separately.

On Apr 1, 2022, at 6:09 PM, Kazim Naqvi <KNaqvi@sheppardmullin.com> wrote:

 

** External Email -- Sender: knaqvi@sheppardmullin.com #4]

Rory—

Pursuant to Jim’s request and as provided by Skyryse earlier, can counsel for the individual defendants
provide a list with specifications of the devices turned over to iDS today? This will ensure that all parties
are clear and on the same page regarding the number and type of devices that have been turned over
and in the custody of iDS.

Thank you,
Kazim
On Apr 1, 2022, at 5:20 PM, Miller, Rory <Rory.Miller@lockelord.com> wrote:

That should be the individual defendants’ materials yes.

On Apr 1, 2022, at 5:06 PM, Jim Vaughn <JVaughn@idsinc.com> wrote:

 

ee External Email -- Sender: JVaughn@idsinc.com **]
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Hello All. After Waqas had left the office, he received a call from a courier who was attempting to make
another delivery. This of course was unknown to us. He drove back to the office and was told there are
a couple boxes. Can someone please tell us if this is computers and devices for the individual
defendants, and if so, what is it that we should have gotten?

Thank you

Jim Vaughn, GCFE, EnCE

Managing Director

535 Anton Bivd., Suite 860 | Costa Mesa, CA. 92626
Direct: 714.261.0348 | jvaughn@idsinc.com

iDSinc.com
